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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )
                                                  )
    v.                                            )          No. 4:17-CR-234 RLW
                                                  )
MOHAMMED ALMUTTAN,                                )
                                                  )
            Defendant.                            )

 ORDER OF PARTIAL DISMISSAL AS TO DEFENDANT MOHAMMED ALMUTTAN

           Before the Court is the Government’s Motion to Dismiss Counts as to Defendant Mohammed

Almuttan (ECF No. 1958). The Motion seeks dismissal of Counts 2, 3, 4, 14, and 34 of the

Indictment against Mohammed Almuttan only, pursuant to a guilty plea agreement between the

parties.

           The Court finds that the Government’s Motion to Dismiss Counts as to Defendant

Mohammed Almuttan should be granted. See Rule 48(a), Fed. R. Crim. P.

           Accordingly,

           IT IS HEREBY ORDERED that the Government’s Motion to Dismiss Counts as to

Defendant Mohammed Almuttan (ECF No. 1958) is GRANTED.

           IT IS FURTHER ORDERED that Counts 2, 3, 4, 14, and 34 of Indictment in this matter

are DISMISSED as to Defendant Mohammed Almuttan only.



                                                  ____________________________________
                                                  RONNIE L. WHITE
                                                  UNITED STATES DISTRICT JUDGE


Dated this 8th day of April, 2022.
